                                   Case 23-15079-LMI                        Doc 1           Filed 06/29/23        Page 1 of 5 fllED-IJSBC, FL~-M:IA
                                                                                                                                       '23 JUN 29 Ai-19.56
     Fill in this information to identify the case:

     United States Bankruptcy Court for the:


                                District o f _ _ _
                                            (State)
     C a : = : : w n ) _ _ _ _ _ _ _ _ _ _ _ Chapter~
                                                                            "7-U
                                                                                     1
                                                                                     1'




                                                                                     I
                                                                                                                            orl ~,"~,.
                                                                                                                             ~2E3D-N~l32C9, ~i9~5~1H
                                                                                                                                         0    Check if this is an
                                                                                                                                              amended filing




    Official Form 201
    Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                              06/22

    If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case
    number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




     1.   Debtor's name



     2.   All other names debtor used
          in the last 8 years
          Include any assumed names,
          trade names, and doing business
          as names



     3.   Debtor's federal Employer
          Identification Number (EIN)



     4.   Debtor's address                        Principal place of business                                   Mailing address, if different from principal place
                                                                                                                of business

                                                      \ 'i~ 90                s.uJ 35 In
                                                  Number          Street                                        Number      Street



                                                                                                                P.O. Box

                                                  U-{lQ
                                                  City
                                                                                  fl-
                                                                                    State
                                                                                                3318~·
                                                                                               ZIP Code         City                         State        ZIP Code


                                                                                                                Location of principal assets, if different from
                                                                                                                principal place of business


                                                                                                                Number      Street




                                                                                                                City                         State       ZIP Code




     s. Debtor's website (URL)




    Official Form 201                                    Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 1


i
                                Case 23-15079-LMI                     Doc 1         Filed 06/29/23              Page 2 of 5


Debtor
              Name
                                             f-lo ld1r1              s                              Case number (if k n o w n ) , _ - - - - - - - - - - - - - -



                                             ID-Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
 6.   Type of debtor
                                             D Partnership (excluding LLP)
                                             D Other. Specify: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

                                             A. Check one:
 7.   Describe debtor's business
                                             D Health Care Business (as defined in 11        U.S.C. § 101 (27A))
                                             ~ l e Asset Real Estate (as defined in 11 U.S.C. § 101 (51 B))
                                             D Railroad (as defined in 11 U.S.C. § 101 (44))
                                             D Stockbroker (as defined in 11 U.S.C. § 101 (53A))
                                             D Commodity Broker (as defined in 11 U.S.C. § 101 (6))
                                             D Clearing Bank (as defined in 11 U.S.C. § 781 (3))
                                             D None of the above

                                             B. Check all that apply:

                                             D Tax-exempt entity (as described in 26 U.S.C. § 501)
                                             D Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                                 § 80a-3)
                                             D   Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11 ))


                                             C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                http://www.uscourts.gov/four-digit-national-association-naics-codes .



 a. Under which chapter of the               Check one:
      Bankruptcy Code is the
                                             ~Chapter?
      debtor filing?
                                             0   Chapter9
                                   Lrit If   ~'-~- ·-,-.s 11. Check all that apply:
      A debtor who is a "small business                       IL       e debtor is a small business debtor as defined in 11 U.S.C. § 101 (51 D), and its
      debtor" must check the first sub-
      box. A debtor as defined in                                   aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      § 1182( 1) who elects to proceed                              affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
      under subchapter V of chapter 11                              recent balance sheet, statement of operations, cash-flow statement, and federal
      (whether or not the debtor is a                               income tax return or if any of these documents do not exist, follow the procedure in
      "small business debtor") must                                 11 U.S.C. § 1116(1)(8).
      check the second sub-box.                                 D   The debtor is a debtor as defined in 11 U.S.C. § 1182(1 ), its aggregate
                                                                    noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                                    less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                                    Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                                    statement of operations, cash-flow statement, and federal income tax return, or if
                                                                    any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                                    § 1116(1)(8).

                                                                D   A plan is being filed with this petition.

                                                                D   Acceptances of the plan were solicited prepetition from one or more classes of
                                                                    creditors, in accordance with 11 U .S .C. § 1126(b ).

                                                                D   The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                    Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                    Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                                    for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                                D   The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                                    12b-2.
                                             D   Chapter 1? .




  Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                  page 2
                                   Case 23-15079-LMI              Doc 1        Filed 06/29/23           Page 3 of 5


Debtor
                Name
                                                                                             Case number (ifknown), _ _ _ _ _ _ _ _ _ _ _       ij:J~
                                                                                                                                                 ..-. -----J




 9.    Were prior bankruptcy cases
       filed by or against the debtor
       within the last 8 years?                    District    U--,{j{i'~ I.   Ooi k.when _ _ _ _ _ Case number 2~--}1(:,q?)
                                                                                              MM/ DD/YYYY
       If more than 2 cases, attach a
       separate list.                              District _ _ _ _ _ _ _ _ _ When _ _ _ _ _ _ Case number _ _ _ _ _ _ _ _ __
                                                                                   MM/ DD/YYYY


 10. Are any bankruptcy cases            l01fo
       pending or being filed by a
       business partner or an            D Yes.    Debtor _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ Relationship
       affiliate of the debtor?                    District _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ When
       List all cases. If more than 1,                                                                                        MM    /   DD    /YYYY
       attach a separate list.


 11.   Why is the case filed in this     Check all that apply:
       districn
                                         ~btor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                          immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                          district.

                                         D   A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


 12.   Does the debtor own or have
       possession of any real            D Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
       property or personal property
       that needs immediate                       Why does the property need immediate attention? (Check all that apply.)
       attention?
                                                  D   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard? _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

                                                  D   It needs to be physically secured or protected from the weather.

                                                  D   It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                      attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                      assets or other options).

                                                  D   Other _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __



                                                  Where is the property?_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                                               Number        Street




                                                                               City                                          State ZIP Code


                                                  Is the property insured?

                                                  0   No
                                                  D   Yes. Insurance agency _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

                                                              Contact name

                                                              Phone




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                    page 3
                                Case 23-15079-LMI                       Doc 1            Filed 06/29/23             Page 4 of 5


Debtor                 c_+~s_H.___,_o_l~d_,vi_·--+--\-~----- Llc
              ,.,.--Name                                                                                ~ase number(ifknown) _ _ __




 13.   Debtor's estimation of            Check one:
       available funds                   D Junds will be available for distribution to unsecured creditors.
                                         ~ After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.


                                         0   1-49                                   0    1,000-5,000                              0   25,001-50,000
 14.   Estimated number of               □ 50-99                                    0    5,001-10,000                             0   50,001-100,000
       creditors
                                         0   100-199                                0    10,001-25,000                            ~ore than 100,000
                                         □ 200-999

                                         0   $0-$50,000                             D    $1,000,001-$10 million                   D   $500,000,001-$1 billion
 15.   Estimated assets                  □ $50,001-$100,000                         D    $10,000,001-$50 million                  D   $1,000,000,001-$10 billion
                                         0   )'100,001-$500,000                     D    $50,000,001-$100 million                 D   $10,000,000,001-$50 billion
                                         llY$500,001-$1 million                     D    $100,000,001-$500 million                D   More than $50 billion


                                         0   $0-$50,000                             D    $1,000,001-$10 million                   D   $500,000,001-$1 billion
 16.   Estimated liabilities             0   $50,001-$100,000                       D    $10,000,001-$50 million                  D   $1,000,000,001-$10 billion
                                         0   J100,001-$500,000                      D    $50,000,001-$100 million                 D   $10,000,000,001-$50 billion
                                         i2f $500,001-$1       million              D    $100,000,001-$500 mi1llion               D   More than $50 billion




              Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
            $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 11.   Declaration and signature of          The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
       authorized representative of
                                              petition.
       debtor
                                              I have been authorized to file this petition on behalf of the debtor.


                                              I have examined the information in this petition and have a reasonable belief that the information is true and
                                              correct.


                                         I declare under penalty of perjury that the foregoing is true1 and correct.

                                             Executed on ~:'-:--::':::-':-:-::-::'::-:-ti 't,/


                                         X
                                                                                                                   Printed name


                                             Title    '('(\    ~ ( \ 'i C::.        er




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 4
                             Case 23-15079-LMI                  Doc 1     Filed 06/29/23         Page 5 of 5


Debtor                                                                               Case number (if known),_ _ _ _ _ _ _ _ _ _ _ _ _ _ __
              Name




 1s. Signature of attorney         X                                                            Date
                                       Signature of attorney for debtor                                       MM      /DD /YYYY




                                       Printed name


                                       Firm name


                                       Number          Street


                                       City                                                           State           ZIP Code



                                       Contact phone                                                  Email address




                                       Bar number                                                     State




  Official Form 201                    Voluntary Petition for Non-Individuals Filing for Bankruptcy                               page 5
